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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                      Plaintiffs,                                    4:14CR3114
       vs.
                                                                       ORDER
SONIA HERNANDEZ,
                      Defendants.


       The defendant Sonia Hernandez retained Michael D. Nelson to represent her, but the
scope of this case has greatly expanded since it began. Defendant Sonia Hernandez is no longer
able to afford counsel, and is eligible for appointed counsel pursuant to the Criminal Justice Act,
18 U.S.C. §3006A, and the Amended Criminal Justice Act Plan for the District of Nebraska.
Michael D. Nelson is willing to be appointed as CJA counsel for the defendant.

       IT IS ORDERED:

       1)      The Federal Public Defender for the District of Nebraska is appointed to represent
               the above named defendant in this matter. In the event that the Federal Public
               Defender accepts this appointment, the Federal Public Defender shall forthwith
               file an appearance in this matter. In the event the Federal Public Defender should
               decline this appointment for reason of conflict or on the basis of the Criminal
               Justice Act Plan, the Federal Public Defender shall forthwith provide the court
               with a draft appointment order (CJA Form 20) bearing the name and other
               identifying information of the CJA Panel attorney identified in accordance with
               the Criminal Justice Act Plan for this district.

       2)      To avoid unnecessary delay and provide continuity of representation, the court
               requests that Michael D. Nelson be appointed to represent Sonia Hernandez.

       September 3, 2015.
                                                     BY THE COURT:
                                                     s/ Cheryl R. Zwart
                                                     United States Magistrate Judge
